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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------x
UNITED STATES OF AMERICA                                     :
                                                             :   SCHEDULING
v.                                                           :
                                                                 ORDER
                                                             :
Alberto Ayala,                                               :
                           Defendants.                       :
                                                                 7-20-cr-00545-3 (PMH)
                                                             :
-------------------------------------------------------------x

        A Guilty Plea in this matter is scheduled on January 26, 2022 at 3:00pm in

Courtroom 520 at the White Plains Courthouse.


        Per the SDNY COVID-19 Courthouse Entry Program, anyone who appears at any SDNY

courthouse must complete a questionnaire and have his or her temperature taken. The

questionnaire is located on the Court's website. Completing the questionnaire online and ahead

of time will save time and effort upon entry. Only those individuals who meet the enter

requirements established by the questionnaire will be permitted entry. Please contact Chambers

if you do not meet the requirements.


        Dated: November 3, 2021                      SO ORDERED:




                                                     Philip M. Halpern, U.S.D.J
